                                                                   ORDERED ACCORDINGLY.


                                                                   Dated: August 17, 2020


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   3                                                              Brenda K. Martin, Bankruptcy Judge


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   6                                UNITED STATES BANKRUPTCY COURT
   7                                      DISTRICT OF ARIZONA
   8    In re:                                            Chapter 7
   9    DAVID W. REMIERES AND JENNIFER F.                 Case No. 2:19-bk-12898-BKM
        REMIERES,
  10                                                      ORDER GRANTING MOTION TO
                         Debtors.                         APPROVE SALE OF REAL PROPERTY
  11                                                      FREE AND CLEAR OF LIENS
  12                                                      Re:    9021 W. Elm Street, Unit 3
                                                                 Phoenix, AZ 85037
  13                                                             Tax Parcel No. 102-83-349
  14             Upon consideration of the Trustee’s Motion to Approve Sale of Real Property Free and
  15   Clear of Liens (“Motion”), the Motion seeking to sell the real property located at 9021 W. Elm
  16   Street, Unit 3, Phoenix, AZ - Tax Parcel No. 102-83-349, Maricopa County (“Property”) to Edwin
  17   Adrian Perez, or nominee (collectively, “Buyer”), free and clear of all claims, liens, adverse
  18   interests, and encumbrances, with a carve out of the sales proceeds to benefit the bankruptcy
  19   estate, no objections to the Motion having been filed, the Court finding that notice of the hearing
  20   on the Motion complied in all respects with the applicable provisions of the Bankruptcy Code,
  21   Bankruptcy Rules and Local Rules of this Court, after the August 17, 2020 hearing on the Motion,
  22   wherein no higher and better offers were presented on the Property, and good cause appearing,
  23             IT IS HEREBY ORDERED approving the Motion subject to the conditions of this
  24   Order.
  25             IT IS FURTHER ORDERED authorizing the Trustee’s sale of the Property to Buyer for
  26   a total purchase price of $111,825.00 ($106,500.00 plus buyer’s premium of $5,325.00)
  27   (“Purchase Price”) under the terms of the Purchase and Sale Agreement with Joint Closing
  28   Instructions (Trustee), Arizona Rider to Purchase and Sale Agreement with Joint Closing

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   1   Instructions, Arizona Closing Costs Allocation Rider, Real Estate Agency Disclosure and

   2   Election, Acknowledgement and Agreement Broker Agent Commission, and Bankruptcy

   3   Addendum A to Purchase and Sale Agreement with Joint Closing Instructions (Trustee)

   4   (collectively, the “Contract”) attached to the Motion.

   5             IT IS FURTHER ORDERED that nothing in this sale shall alter or restrict U.S. Bank’s

   6   recovery rights. U.S. Bank retains its rights consistent with the Bankruptcy Code, including the

   7   right to accept payment of a reduced amount of its debt through escrow for a full release of its

   8   lien and satisfaction of outstanding debt.

   9             IT IS FURTHER ORDERED pursuant to 11 U.S.C. § 363(f), that the sale is approved
  10   free and clear of all claims, liens (as noted above), adverse interests, and encumbrances, all such
  11   claims, liens, adverse interests, and encumbrances to automatically attach to the proceeds of the
  12   sale in the same effect and priority as they had to the Property.
  13             IT IS FURTHER ORDERED that on the basis of the record presented, the Court

  14   expressly finds and concludes that Buyer has proceeded in good faith and that, pursuant to 11

  15   U.S.C. § 363(m), an appeal of this order shall not affect the validity of the transaction approved

  16   herein.

  17             IT IS FURTHER ORDERED that the sale is “as is/where is” with no representations or

  18   warranties of any kind.

  19             IT IS FURTHER ORDERED authorizing the Trustee to accept the $5,325.00 surcharge

  20   payment from the sale of the Property.

  21             IT IS FURTHER ORDERED that the servicing agent is authorized to disburse the

  22   following amounts from the sale proceeds:

  23                   a.     Ordinary costs of sale, including any Maricopa County property tax;

  24                   b.     All other costs and expenses outlined in the Contract;

  25                   c.     A real estate commission of not more than 6% of the Purchase Price total;

  26                   d.     Agreed upon payment to U.S. Bank National Association for its lien against

  27                          the Property; and

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   1                  e.       $5,325.00 payment to the bankruptcy estate in care of the Trustee.

   2          IT IS FURTHER ORDERED that the fourteen (14) day stay pursuant to and in

   3   accordance with Bankruptcy Rule 6004(h) is waived, and this Order shall be immediately

   4   effective upon entry.

   5                                   DATED AND SIGNED ABOVE

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